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                IN THE UNITED STATES DISTRICT COURT FOR THE
                       NORTHERN DISTRICT OF FLORIDA
                            GAINESVILLE DIVISION

UNITED STATES OF AMERICA,

v.                                                       CASE NO. 1:89-cr-01018-MP-GRJ-2

WILNER VAL SAINT,

       Defendant.

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                                         ORDER

       This matter is before the Court on Doc. 1372, the government's Motion for Extension of

Time to File Response to defendant's motions at Doc. 1368 and 1370. Upon consideration, the

motions are granted and the government shall respond by Friday, June 7, 2013.

       DONE AND ORDERED this 26th day of April, 2013


                                              s/Maurice M. Paul
                                             Maurice M. Paul, Senior District Judge
